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Attorneys for Defendants City of San Bernardino; Dominick Martinez
UNITED STATES DISTRICT COUR'I`
CENTRAL DISTRICT OF CALIFORNIA
Joe Ortiz, Sr., }oe Andrew Ortiz, Case No.: 5:16-cv-02291 JGB (KKX)
individually and as successors in interest
to Joe Ortiz, Jr.; S.M.O. and C.D.O., NOTICE OF SETTLEMENT AN])
minors by and through their guardian ad JOINT STIPULATION REGARDING

litem, Lucy Coral, individually and as DISMISSAL WITH PREJUDICE OF
successors in interest to Joe Ortiz, Jr.; DEFEN])ANTS

Nancy Ortiz, individually and as a

successor in interest to Joe Ortiz, Jr.;

I.H., J.O., J.P.O., and N.O., minors, by

and through their guardian ad litem,

Nancy Ortiz, individually and as

successor in interest to Joe Ortiz, Jr.; the

Estate of Joe Ortiz, Jr., by and through

his successors in interest,

Plaintiffs,
vs.
City of San Bernardino, Dorninick
Martinez, and Does 1 through 10,

inclusive,

Defendants.

 

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Notice of Settlement/Joint Stipulation re: Dismissal

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Plaintifi`s and Defendants, by and through their respective attorneys of record,

hereby stipulate as follows:

1. The parties have reached settlement on all issues raised in this matter. The

parties have fully performed their obligations under their settlement

 

agreement

2. Dismissal of this case with prejudice is appropriate pursuant to Federal Rule

er Civil medina 41(3).

IT IS SO STIPULATED.

Dated:©j>/t»-t run _/€ 219/d , 2018

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By: '
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Attornes for Plaintiffs

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By: l @W@§%U&Qtd

Nicole R. Ro v en

Deputy CityA. " e
Attorneys for Defendants City of San
Bernardino; Dorninicl< Martinez

 

 

Notice of Settiernent/Joint Stipulation re: Disrnissal

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